       Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 1 of 17

ProSe7(Rcv.12/16)Compl
                     aintforEmploymentDiscriminati
                                                 on


                                      U NITED STATES D ISTRICT COURT
                                                                forthe

                                                   SouthernDistrictofFlorida Uv
                                                                    Division

                      Shovan Ambush                                      C
                                                                          aseNo.
                                                                                   (tobehlledin bytheClerk'
                                                                                                          sO' cc,
                                                                                                                l
                         Plaintfls)
F ritethefullnameofeachplaintt whoisfling thiscomplaint.                 JUJ Trial:(checkone) S Yes SZ No
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pagewiththefulllistofnames.
                          )
                             -   V-


                   CarnivalCorporation
                                                                                          FILED BY                       D.C.

                                                                                                JAh ()3 2023
                       Defendantls)                                                               ,Ar
                                                                                                    .1G ELA E.r'kCJBLE
F ritethefullnameofeachdefendantwhoisbeingxl/eï Ifthe                                            cLERK U.S.D2ST CT.
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                          CO M PLA INT FO R EM PLO YM EN T DISCR IM INA TIO N

1.       ThePartiesto ThisCom plaint
         A.       ThePlaintillsl
                  Providethe information below foreach plaintiffnamed in the complaint. Attach additionalpagesif
                  needed.
                           Nam c
                            StreetAddress
                            City and County
                            Stateand Zip Code
                           Telephone Num ber
                           E-mailAddress


         B.       TheDefendantts)
                  Providethe infonnation below foreach defendantnam ed in the complaint,whetherthe defendantisan
                  individual,a governmtntagency,an organization,ora corporation. Foran individualdefendant,
                  includetheperson'sjob ortitle(fknown).Attach additionalpagesifneeded.
                                                                                                                          Pagelof6
      Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 2 of 17

PI
 '
 OSc7(Rev.1N16)ComplaintforEmploymentDiscrimination

                 DefendantNo.1
                        N ame                         CarnivalCorporation
                          Job orTitle (Ifknown)
                          StreetAddress               3655 NW 87th Avenue
                          City and County             Miami,M iam i-Dade County
                          State and Zip Code          Fl33178
                          TelephoneNumber             (305)599-2600
                          E-mailAddress(fknown)

                 DefendantNo.2
                          Nam e
                          Job orTitle lfknownl
                          StreetAddress
                          City and County
                          State and Zip Code
                          TelephoneNumber
                          E-m ailAddress(fknown)


                 DefendantN o.3
                          Nam e
                          Job orTitle (fknown)
                          StreetA ddress
                          City and County
                          State and Zip Code
                          TelephoneN tlm ber
                          E-mailAddress(ifknown)


                 DefendantNo.4
                          Nam e
                          Job orTitle (I
                                       fknown)
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      Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 3 of 17

Pro Se7(Rev.l2/16)ComplaintforEmploymentDiscrimination

                  Place ofEm ploym ent

                  Theaddressatwhichlsoughtemploymentorwasemployedbythedefendantts)is

                           'kanAe                        CarnivalCruise Line
                           StreetAd& ess                 3655 NW 87th Avenue
                           City and County               Miam i,Miami-Dade County.
                           State and Zip Code            FI,33178
                           TelcphoneN um ber             (305)599-2600

ll.      BaslsforJurisdiction

         n isaction isbroughtfordiscrimination in employm entpursuantto (checkalIthatgw/
                                                                                       .
                                                                                       4?:

                             TitleVlloftheCivilltightsActof1964,ascodified,42U.S.C.jj2000eto2000e-17(race,
                             color,gender,religion,nationalorigin).

                              (Note.
                                   'InordertobringsuitinfederaldistrictcourtunderTitleV11,youmustsrstobtaina
                              NoticeofRighttoSueletterfrom theEqualEmploymentOpportunityCommission. )
                              AgeDiscriminationinEmploymentActof1967,ascodified,29U.S.C.jj621to634.

                              (Note:InordertobringsuitinfederaldistrictcourtundertheAgeDiscriminationin
                              EmploymentAct,youlnz/-
                                                   ç//r-
                                                       ç/-/i/cachargewiththeEqualEmploymentOlwor/xnf/.p
                              Commùsion.)

                Z             AmericanswithDisabili
                                                  tiesActof1990,ascodified,42U.
                                                                              S.C.jj12112to12117.
                              (Note:InordertobringsuitinfederaldistrictcourtundertheAmericanswithDisabilities
                              Act,youmustjlrstobtainaNoticeofRighttoSueletterfrom theEqualEmployment
                              Opportunit
                                       y Commission)
                              Otherfederal1aw (spece thefederal/tzw'
                                                                   ):


                L
                L




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       Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 4 of 17

ProSe7@fv.12/16)ComplaintforEmploymentDiscrimi
                                             nati
                                                on


111.    Statem entofClaim

        W ritea shortand plain statementoftheclaim . Do notm akc legalargum ents. State asbrietly mspossiblethe
        factsshowing thateach plaintiffisentitled to the dam agesorotherreliefsought. Statehow each defendantwas
        involvcd and whateach defendantdid thatcaused theplaintiF hsrm orviolated theplainti/ srights,including
        the datesand placesofthatinvolvem entorconduct. lfmorethan one claim ismsserted,mlmbereach claim and
        writea shortand plain statementofeach claim in a separatepamgmph. Attach additionalpagesifneeded.

        A.      The discrim inatory conductofwhich 1complain in thisaction includes(checka1Ithatgw/
                                                                                                  y?;

                      Z           Failure to hire me.
                      L           Termination ofm y em ployment.
                      L           Failureto promotem e.
                      Z           Faillzreto accom modate m y disability.
                                  Unequalterm sand conditionsofmy employm ent.
                                  Retaliation.
                      L           Otheracts(specelk
                                 (Note:Onl ythosegrol/atfçraisedinthechargehledwiththeEqualEmployment
                                 OpportunityCommissioncanbeconsideredbythefederaldistrictctwr/underthe
                                 federalemploymentdiscriminationstatutex)

       B.        ltismybestrecollectionthattheallegeddiscrinzinatoryactsoccurredondatetsl
                failure to rehire 08/25/2021.Failure to accom date schedule 06/18/2020

       C.        Ibelievethatdefendantts)(checkonel'
                                                   .
                       V          is/arestillcommittingtheseactsagainstme.
                                  is/arenotstillcomm itting these actsagainstme.

       D.        Defendantts)discriminatedagainstmebasedonmy(checkalIthatappl
                                                                            yandemlainl'
                                                                                       .
                                  race

                                  color
                                  gender/sex
                                  religion
                                  nationalorigin
                                  age(kearofbirth)                 (only whenasserting aclaim ofagediscrimination)
                       V          disabilityorperceiveddisability(spec# disabilitp
                                  Backpain,MentalHeaI
                                                    th,Endometriosis,Fibrom yalgia

                 The factsofmy case are asfollows.Attach additionalpagesifneeded.



                                                                                                            Pagc4of 6
       Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 5 of 17

PD Se7(Rev.12/16)ComplaintforEmploymentDîscrimination
                 seeaqached




                  (Note:Asadditionalsupportforthefactsofyourclaim,yourzlfz.pattachtothiscomplaintacopyof
                  yourcharge/ledwiththeEqualEmploymentOpportunityCommission,orthechargesledwiththe
                  relevantstateorcf/y human rights division.
                                                           )

IV. Exhaustitm ofFederalAdm inistrative Rem edies
       A.         ltismy bestrecollection thatItiled a charge with the EqualEm ploym entOpporhm ity Com mission or
                  m y EqualEmploym entOpportunity counselorregarding the defendant'salleged discrim inatory conduct
                  on (date)
                 08/25/2021itwas accepted into the system 12/13/2021



       B.         The EqualEm ploymentOpportunity Comm ission (checkoae);
                        I-R          hasnotissuedaNoticeofRighttoSueletter.
                        I-Z
                          R          issuedaNoticeofRighttoSueletter,which1receivedon(date) 12/01/2022           .
                                    (Note:AttachacopyoftheNoticeofRighttoSueletterfrom theEqualEmplom ent
                                    Opportunity Commissionto thiscomplaint)

                  Only litigantsalleging age discrim ination mustanswerthisquestion.

                  Sincefiling my chargeofage discrim ination w ith theEqualEmploymentOpportunity Comm ission
                  regarding the defendant'salleged discrim inatory conduct(checkoae):

                                     60 daysorm ore haveelapsed.
                                     lessthan 60 dayshave elapsed.

 V.     Relief
        State briefly and precisely whatdamagesorotherreliefthe plaintif asksthe courtto order. Do notm ake legal
        arguments.Includeany basisforclaim ing thatthewrongsalleged are continuing atthepresenttim e. Include the
        amountsofanyacttzaldamagesclaimedfortheactsallegedandthebasisfortheseamounts.lncludem14plmitive
        orexemplary dam agesclaim ed,the amounts,and thereasonsyou claim you are entitled to achlnlorpumtive
        money damages.




                                                                                                            Page5of 6
      Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 6 of 17

ProSe7(Rev.12/16)ComplaintforEmploymentDiscrimination




Vl. Certifkation and Closing

       UnderFederalRule ofCivilProcedlzre 11,by signing below ,lcertify to thebestofmy know ledge,information,
       andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimpromrpupose,suchastohnmx       qs,cause
       llnnecessarydelay,orneedlesslyincremsethecostoflitigation;(2)issupportedbyexisting1aw orbya
       nonfrivolousargumentforextending,modifyinp orreversingexistinplaw;(3)thefaMmlcontentionshave
       evidentiyysupportor,ifspecitkallysoidentified,willlikelyhaveevldentiarysupportafterareasonable
       opportumtyforfurtherinvestigationordiscovery;and(4)thecomplaintotherwisecomplieswiththe
       requirem entsofRule 1l.


       A.         F@r PartlesW ithoutan Attorney

                  lagreeto provide the Clerk's Office with any changesto m y addressw here case-related papersm ay be
                  served. Iunderstand thatmy failure to keep a currentaddresson lile with the Clerk'sOm cem ay result
                  in the dismissalofmy cmse.

                  Date ofsigning:             12/13/2022


                  Signature ofPlaintiff
                  Printed Name ofPlaintiff         Shovan Ambush

       B.         For Ato rneys

                  Date ofsigning:


                  Signature ofAttom ey
                  Printed Nam eofAttorney
                  BarNum ber
                  N am e ofLaw Firm
                  StreetAddress
                  Su teand Zip Code
                  Telephone Number
                  E-m ailA ddress




                                                                                                             Page6of 6
    Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 7 of 17




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                             ME
                              NTOFVE
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                                   ER
                                    ANSAFAI
                                          RS
December13,2022

Shovan Kea Ambush                                                                            ln Reply Referto:
313 Hidden ForestCt                                                                          xxx-xx-2900
Fairless Hills,PA 19030                                                                      zr eBenefits



DearMs.Am bush:

Thisletterisasumma; ofbenefitsyoucurrentlyreceivefrom theDepartmentofVeteransAffairs(VA).Weare
providingthislettertodlsabledVeteranstouselnaqplyingforbenefitssuchasstateorlocalpropertyorvehi
                                                                                              cletax
relief,civilservice preference,to obtain housing entl
                                                    tlem ents,free orreduced state park annualmem berships,or
any otherprogram orentitjem entin which verificati on ofVA benefits is required.Please safeguard this important
document.This letteris considered an officialrecord ofyourVA entitlement.

Ourrecordscontain the following information'
                                           .


PersonalClaim Inform ation
YourVA claim numberis:m -u -2900

You are the Veteran.


Military Inform ation
Yourmostrecent,verified periodsofservice (uptothree)include:

 Branchof-    iO           CharacterofH     ice         Entere Actlve Duty          Rele e     lscharge
 Army                      Honorable                    February 01,2005           January 31,2006
 Army                      Honorable                    October16,2007             October15,2012

 (There maybeaddi
                tionalperiodsofservice notlisted above.)

 VA Benefitlnform ation

      You have one orm ore sefvlce-connK te disabllltle :                                    Yes

      Yourcombine servlcœ conne te evaluation is:                                            IG PA

      Yourcurrentm onthly award amountis:                                                    $3750.57
      Thee e tlvedateofthe Iastehangeto yourcurrentawardwas:                                 December01,2022
      You are considere to be totally and perm anently dlsable due solely to yourservlco     Yes
      conne e disabllitle :
      Theelfe tlvedateofwhenyouY ametotallyandpermanentlydisable duetoyour                   June27,2019
      servloœ conne ed dlsabllitl- :
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 8 of 17




                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT O F FLO RIDA


Shovan Am bush,
Plaintiff                                              Case No.


VS.

CarnivalCorporation,
Defendant

                  CO M PLAINT FO R EM PLOYM ENT DISCRIM INATION
   1.FactualBackground

The plaintiffissuing defendantunder'42 U.S.C.jj 12111-17,r-Discrimination.
   1. The defendant,CarnivalCorporation is a com pany thatoperates outofM iam i
      Florida.Theirheadquarters is located at3655 NW 87th Avenue.M iam i,FL.
      33178 U.S.A.

      The plaintiff,Shovan Ambush is both a residentofFairless Hills,Pa and
      m aintains a postoffice box in O rlando,FI.

   3. The plaintiffwas hired to work with the defendanton July 10,2017 and worked
      through July 02,2020.Plaintiffidentifies as a disabled veteran and itwas noted
      on the application.The plaintiffs'qualifications is herem ploym enthistory with the
      com pany.Pay stubs can be provided upon request.

   4. The plaintiffstarted offas a callcentercustom erservice agentin the US territory
      and then moved to theAustralian deskin 2018 a remote position.Thejob
      description ofthe International& Diam ond DeskAgentis included.ExhibitE.The
      plaintiffalso worked as a contractorthrough a com pany called Arise where atthe
      tim e HeidiM itchellwas the managerforthe CarnivalArise team .

   5. The plaintiffworked forthe com pany with the Iisted m edicalconditions. Plaintiff
      was medicallydischarged from the militaryforbackinjuries in2012.Plainti# self-
      accom m odated herwork condition as to w orkfrom bed laying dow n to be able to
      work the fullschedule.

   6. Plaintiffwas approved forFM LA on Novem ber19th2019. Plaintiffexhausted
      FM LA hours and requested to continue to work parttim e.
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 9 of 17




       Plaintiffstates thatIn June 2020,however,aftershe had exhausted heravailable
       FM LA leave,M s.Am bush's physician advised thatshe had developed a new
       condition,thatthey had been unable to treatherpain,and thatshe was unable to
       perform heressentialjob functionsdespite accommodations.Following receiptof
       this Ietter,Ms.Am bush again resigned,with herresignation taking effecton July
       2,2020.ExhibitA:Section B.

    8. The accom modation requested was to work pad tim e hours and the
       accom m odation given was to work a specific shift12am-830 am untilthe
       depadmentchanged my schedule to 7pm -3am .The position w as already a work
       from home position due to Australian business hours.''ExhibitG
    9. The problem w ith this scenario is thatthe defendantknew thatthe plaintifrs
       reasoning forIeaving was the plaintiffran outofFLM A hours.The defendant
       denied the requestto continue working 25 hours a week.The defendantwas
       aware ofthe upcom ing surgery and failed to offerany additionalsolutions.

    10.The condition w as a service-connected condition from the m ilitary.Itwasn'ta
       new condition.ltwas a condition thataffected the plaitiffs ability to workforthe
       three years thatIhave w orked forCarnival.The plainti ffneeded a hysterectom y.
       The plaintiffwas diagnosed with endom etriosis in 2009 w hich the plaintiffis also
       service connected for.The physician also stated thatthere would be another
       review in 6 months.The VA decision's can be provided upon request.ExhibitG .
       ExhibitH shows the sam e inform ation from the sam e doctorbutthe pain wasn't
       as severe.ExhibitIis from the psychiatristDr.Applegate.

    11.The Plaintiffcontacted Human resources on July 09,2021 to speak with Hum an
       Resources directoraboutworking on a m odified schedule.Plaintiffspoke with
       Lisa Parisifor45 m inutes discussing the possibility ofcom ing back to work for
       Carnival.Parisistated thatshe could allow a m odified schedule ifPlaintiffcould
       pass the interview.
    12.The Plaintiffrequests thatthe tim e from herresignation to the rehiring process be
       considered citing NationalRailroad PassengerCorp.(V m trak'? v.Morgan,122
       S.Ct.2061 (2002).
    13.The continuing violations doctrine,w hich typically arises in the contextof
       em ploym entdiscrim ination,perm its em ployees to recoverfordiscrim inatory acts,
       such as harassm entorprom otion denials:thatfalloutside the Iim itations period,
       as Iong as partofa ''continuing violation''Is within the period.

    14.In 1996,AbnerM organ filed a charge with the EEO C alleging thathe suffered
       racialdiscrim ination,retaliation forcom plaining ofthe discrim ination,and a
       hostile workenvironm ent.M organ asserted thatthe acts ofdiscrim ination staded
       in 1990 and continued for5 years.Attrial,a federaldistrictcourtgranted padial
       summaryjudgmentin Amtrak'sfavor,''holding thatthe company could notbe
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 10 of 17




       Iiable forconductoccurring before May 3,1994,because thatconductfelloutside
       ofthe 300-day filing period.''O n appeal,the Ninth CircuitCourtofAppeals
       reversed the districtcourt's decision,holding thatdiscriminatory acts m ay be
       strung togetherto form a continuing violation thatperm its a plaintiffto sue for
       actions thatoccurred outside ofthe 300 day Iim itations period.The Ninth Circuit
       stated,''a plaintiffm ay sue on claim s thatwould ordinarily be tim e barred so Iong
       as they eitherare sufficiently related to incidents thatfallwithin the statutory
       period orare partofa system atic policy orpractice ofdiscrim ination thattook
       place,atleastin part,w ithin the lim itations period.'Amtrak appealed the Ninth
       Circuit's decision to the United States Supreme Coud.The Suprem e Courtheld
       that''a Title VIIplaintiffraising claims ofdiscrete discrim inatory orretaliatory acts
       m ustfile his charge within the appropriate 180 or300-day period,buta charge
       alleging a hostile work environmentw illnotbe tim e barred ifaIIacts constituting
       the claim are partofthe sam e unlawfulpractice and atIeastone actfalls w ithin
       the filing period.

    15.The period thatthe plaintiffrequested 30 hours was included w ithin the rehiring
       process which was w ithin the EEO C tim eline.ExhibitC.

    II.Situation

    1. The defendantviolated 42 USC j 12111(10)(A)(4)
       No covered entity shalldiscrim inate againsta qualified individualon the basis of
       disability in regardtojob application procedures,the hiring,advancement,or
       discharge ofemployees,em ployee com pensation,job training,and otherterms,
       conditions,and privileges ofem ploym ent.

       (4)excluding orothe- ise denying equaljobsorbenefitsto a qualified
       individualbecause ofthe known disability ofan individualw ith w hom the qualified
       individualis known to have a relationship orassociation'
                                                              ,

    2. The plaintiffis qualified because ofthe various positions held in the com pany
       overa 3-yearperiod,aI1callcenterpositions,and thatshe is an individualwith a
       disability w ho meets the Iegitim ate skill,experience,education,orother
       requirem ents ofan em ploymentposition thathe orshe holds orseeks,and w ho
       can perform the ''essentialfunctions''ofthe position w ith orw ithoutreasonable
       accom m odation.

    3. Perthe EEOC guidance (OLC ControlNumberEEOC-NVTA-2002-2)1:A
       qualified individualwith a disability is a person who meets Iegitim ate skill,
       experience,education,orotherrequirem ents ofan em ploym entposition thathe
       orshe holds orseeks,and w ho can perform the ''essentialfunctions''ofthe
       position with orwithoutreasonable accom m odation.Requiring the ability to

 1ADA,Rehabilitation Act,29 CFR Part1630
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 11 of 17




       perform ''essential''functions assures thatan individualw illnotbe considered
       unqualified simply because ofinability to perform marginalorincidentaljob
       functions.Ifthe individualisqualifiedto perform essentialjobfunctionsexceptfor
       Iim itations caused by a disability,the em ployerm ustconsiderwhetherthe
       individualcould perform these functions with a reasonable accom modation.Ifa
       writtenjob description hasbeen prepared in advance ofadvertising or
       interviewing applicantsforajob,thiswillbe considered asevidence,although not
       necessarily conclusive evidence,ofthe essentialfunctionsofthejob.
    4. The defendantstates thatdecision wasn'tbased on requestforpart-tim e hours
       howeveras stated in theirEEOC response:

       ''In July 2021,M s.Am bush reached outto CarnivalHum an Resources to inquire
       aboutthe availability ofparbtim e custom erservice positions.Atthattim e,she
       was accurately advised thatCarnivaldoes notofferpad-tim e oppodunities in the
       area ofcustom erservice.W ith know ledge ofthe sam e,beginning in August
       2021,M s.Am bush applied forvarious custom erservice positions,alIofwhich
       were - and continue to be - full-tim e positions and w ere advedised as such.'
        ExhibitA

    5. According to the court,''Creative Networks denied Duran an em ploym ent
       oppodunity and the denialwas based on herneed forreasonable
        accommodations.Defendant'smotionforsum mary judgmentis based solelyon
        the EEO C'S alleged inability to m ake a prim a facie case ofdisability
        discrim ination EqualEm p'tO pportunity Com m 'n v.Graceworks Lutheran Servs.,
        CaseNo.3:15-cv-261(S.D.OhioJun.15,2016)
    6. The court''declineld)to adoptCreative Networks'stringentstandard.Asa
        generalm atter,a claim antis notnecessarily required to com plete every step of
        the application process- rreven apply- when discrim inatory hiring procedures
        deterherfrom doing so.''EqualEm p'tO pportunity Com m'n v.Graceworks
        Lutheran Servs.,Case No.3:15-cv-261(S.D.Ohio Jun.15,2016).
     7. The plaintiffrequested a m odified schedule be a reasonable accom m odation
        w hen the plaintiffwas an em ployee and on 07/09/2021 during the application
        RrOCOSS.
     8. The plaintiffapplied forjob posting GuestCare,07/28/2021,job posting 1704
        VirtualAgenton 08/25/2021,job posting 2037 VirtualAgent,Service on
        9/14/2021,job posting 2206 VidualAgent,Service,Job posting 2597 Vidual
        Agent,Service on 11/17/2021and job posting 4181Applied on 06/28/2022.
        There were otherjobsapplied for,butitwasto satisN the requirementsof
        unem ploym ent.The plaintiffwas awarded unem ploym entin 2020.ExhibitD

     9. The plaintiffreceived an invitation to com plete a video assessm enton
        08/17/2021,08/18/2021,08/24/2021,08/25/2021,09/15/2021,and11718/2021.
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 12 of 17




    10.The plaintiffwas invited to a second interview on 08/09/2021, 12/01/2021.

    11.The plaintifrs EEO C claim was placed on 08/25/2021 and accepted on
       12/13/2021 and com pleted 12/01/2022.ExhibitB and ExhibitC.

    12.The defendanthas to prove a schedule m odification causes a hardship In US
       Airways,Inc.v.Barnett,535 U.S.,122S.Ct.1516(2002),theSupremeCoud
       laid outthe burdens ofproofforan individualwith adisability (plaintio and an
       employer(defendant)in an ADA Iawsuitalleging failure to provide reasonable
       accommodation.The 'plaintiff/employee (to defeata defendanvemployer's
       motionforsummaryjudgment)need onlyshow thatan 'accommodation'seems
       reasonable on its face,i.e.,ordinarily orin the run ofcases O nce the plainti# has
       shown thatthe accom m odation s/he needs is ''reasonable,''the burden shifts to
       the defendant/em ployerto provide case-speci   fic evidence proving that
       reasonable accom modation would cause an undue hardship in the padicular
       circum stances.

    l3.According to Florida Law Fulltim e em ploymentis classified as 25 hours orm ore;

       UnderFlorida Title XXXVIIINSURANCE

       627.6563 Full-time em ploymentdefined.- upon the requestofthe policyholder,
       a group,blanket,orfranchise health insurance policy issued ordelivered in this
       state thatprovides coverage to an em ployerforthe benefitofits em ployees shall
       include in the definition of''
                                    full-time em ployee''an em ployee who has a normal
       workweek of25 orm ore hours.

    l4.According to the IRS in 26 CFR j 54.4980H-3 -Determiningfull-time employees.
       (iii)Employeedeterminedto beemployedanaverageofatIeast30hoursof
       service perw eek.An em ployee who was em ployed on average atIeast30 hours
       ofservice perweek during the standard m easurem entperiod m ustbe treated as
       a full-time em ployee fora stability period thatbegins im m ediately afterthe
       standard measurem entperiod and any applicable adm inistrative period. The
       stability period m ustbe atIeastsix consecutive calendarm onths butno shorterin
       duration than the standard m easurem entperiod.

    15.Using the guidance ofthe Florida Iaw and lRS itis safe to say thatdefendantcan
       stillhire the plaintiffat30 hours a week and stillbe considered fulltime.

    16.A plaintiffis notrequired to use the M cDonnellDouglas fram ework to prove
       em ploymentdiscrim ination.A plaintiffm ay also use the holistic m ethod ofproof
       established by the 7th Circuitin Orl/z v.W ernerEnterprises, Inc.,underwhich ''aII
       evidence belongs in a single pile and m ustbe evaluated as a whole.e
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 13 of 17




     17.Henry O rtiz worked as a freightbrokerforW ernerEnterprises,a shipping
        com pany thatlinks custom ers with transportation carriers fortheirfreight.He w as
        term inated afteran assistantmanagerbooked six unprofitable freightloads in his
        nam e and O diz changed the records in the com pany's system to reflectthathe
        had notbooked the Ioads orto show differentrates to which he thoughtthe
        carriers had agreed.Ortizfiled a lawsuitunder42 U.S.C.j 1981andthe Illinois
        Human RightsAct(775 ILCS 5/1-101to 775 ILCS 5/10-104),arguing thathis
        em ploym entw as term inated because ofhis M exican ethnicity and thathis
        superiors regularly used racialslurs towards him .He also claimed thatW erner
        subjected him to a hostile work environmentinviolationofstate Iaw.
     18.The districtcourtgranted summaryjudgmentto W erner,Iooking atthe evidence
        through the directand indirectm ethods,and treating each type ofevidence as
        having its own elements and rules,withoutaggregating alIthe evidence to
        assess the overallIikelihood ofdiscrim ination.Ortiz appealed to the Seventh
        Circuit.(PracticalLaw Labor& Employment,2016)2
        The Seventh Circuitreversed and rem anded,holding that:

        The properstandard foranalyzing em ploym entdiscrim ination cases is whether
        the evidence as a w hole perm its a reasonable fact-finderto conclude thata
        plainti/s protected statuscaused the adverse employmentaction (PracticalLaw
        Labor& Employment,2016)
        A ''convincing m osaic ofdiscrim ination''is nota Iegaltestforanalyzing whether
        discrim ination occurred.Districtcourts thatrely on this m etaphoras a Iegal
        standard willbe subjectto summaryreversalso thatthe courtcan evaluatethe
        evidence underthe correctstandard.Odiz v.W ernerEnters.,Inc.,No.15-2574
        (7th Cir.2016)(PracticalLaw Labor& Employment,2016)
        Evidence is evidence and m ustbe considered as a whole;districtcourts m ust
        stop separating directand indirectevidence and proceeding as ifthey are
        differentIegalstandards.Decisions issued using this framework willalso be
        reversed.Ortizv.W ernerEnters.,lnc.,No.15-2574 (7th Cir.2016)(Practical
        Law Labor& Employment,2016)
        The phrase ''convincing m osaic''originated in Troupe v.M ay Depadm entStores
        Co.,where the Seventh Circuittried to illustrate thatcourts should not
        differentiate betweendirectand indirectevidence(20 F.3d7M (7thCir.1994))
        (PracticalLaw Labor& Em ployment,2016).


  2Practi
        calLaw Labor& Employment.(2016,August25).SeventhCircuitClarifiesEmployment
        Discrimination LegalStandard:Forget''Convincing Mosaicp'
                                                               ,Evidence is Evidence.Thomson
        Reuters PracticalLaw.
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 14 of 17




        The plaintiffcan use proofofthe em ployer's reasons foran adverse action oqen
        depends on inferences ratherthan on directevidence Cucuzza vs the City of
        Santa Clara, 104 CaIApp 4th 1031, 1040(2002).

    lg.california police officerwas recently allowed to continue his claim againsthis
       formeremployerbecause theydidjustthat:theyrefused to considerhim for
       rehire.The police officerhad previously retired due to a physicalcondition, buthe
       reapplied as a new recruitand finished atthe top ofhis field Ratherthan viewing
                                                                        .

       him as a top applicant,the city ignored his qualifications and dism issed his
       application based on his pastm edicalissue and his indication thathe m ightneed
       a reasonable accom modation Gardnerv.City ofBerkeley, ND Cal,Jan.2012.

    111.CONCLUSIO N

    1. Plaintiffhasw orked successfully with Carnivalfor3 years w ith conditions that
       were presentatthe beginning ofthe em ploym ent.The 3 years in the com pany
       puts m e ata higherposition then new em ployees. The defendantwould have to
       prove thataIIofthe applicants forthe positions Iisted were also previous Carnival
       em ployees orhave callcenterexperience. According to Pines Federal
       EmploymentAttorneys site3and the Americans with DisabilitiesAct(ADA),an
       em ployercan'tdeny a m odified work schedule as a reasonable accom modation
       unless the em ployercan demonstrate w hy the em ployee is needed on a full-tim e
       schedule.The em ployercan'tm erely state thatanything Iess than full-time
       em ploymentis unreasonable.They willneed to provide qualifying evidence to the
       ADA to prove thatyou can'tperform yourjob responsibilitieswith a reduced work
       schedule.The com pany has over120,000 em ployees state side.

    2. Addressing the tim e barred issue. The plaintiffended service on July 30d,2020.
       The plaintifftried working w ith the defendantwithoutcourtinvolvem entby
       contacting HR in July of2021 with HR responding on July 9th, 2021.The
       defendantstarted the rehire process in Augustof2021 Afterbeing denied a
                                                                .

       position thatthe defendantwas originally hired forthe defendantcontacted
       EEO C in Augustof2021 and had an appointmentsetforDecem ber13th2021.
   3. The Plaintiffis looking forrehire into the com pany based on herprevious
      depadm entsince the departmentfailed to give herthe reasonable
      accom modation requestduring hertime ofem ploym ent The plainti/ s hourly rate
                                                                    .

      was 16.40 perhourin 2020.Although the plaintiffdid voluntarily leave the
      company.The plaintiffwasn'taware ofthe Iaw thatADA Ieave is a reasonable
      accom m odation.The com pany neversuggested it.Itis explicitly stated in the
      reason forIeaving w hy the plaintiffIeftthe com pany  .




3Pines Federal. (2022,November2).Doesa ReducedW orkSchedul   e Qualifyasa Reasonable
Accommodation? Pines FederalEmploymentAttorneys. https://www.pinesfederal.com
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 15 of 17




        The com plainantshould also receive alIapplicable benefits and step orpay
        increases.See OniB.Dep'  l.ofthe Treasuq ,EEO C AppealNo.0720100015
        (Oct.11,2011).See EEOC Chapter11Section 114.
    4. The plaintiffis requesting back payfrom 2020 tothe time offinaljudgement.
        Carnivalem ploys over500 people and the lim iton punitive dam ages is
        $300,000.Ifreinstatementis notavailable,thenthe plaintiffrequested frontpay.
        See EEOC C hapter11 section VIIsubsection A.
     5. Also,according to the EEO C website Chapter11 section IV 5:The Com m ission
        hasheld thatfrontpay may be awarded in Iieuofreinstatementwhen:(1)no
        positionisavailable'
                           ,(2)asubsequentworkingrelationshipbetweentheparties
        would be antagonistic'
                             ,or(3)the employerhasa record oflong-term resistance
        to anti-discrim ination efforts.Brinkley v.U.S.PostalSek ice,EEOC RequestNo,
        05980429 (Aug.12,19993.
        The factthatfrontpay is aw arded in Iieu ofreinstatem entim plies thatthe
        com plainantis able to work butcannotdo so because ofcircumstances external
        to the com plainant.See Cook B.U.S.PostalSek ice,EEOC AppealNo.
        01950027(JuIy 17,1998).
     6. The plaintiffstarted schoolback in May 2022 to receive a second Bachelor's
        degree in Spanish.Included is the plaintifrs resum e ExhibitJ show ing herskills
        and educationfitthejob descriptionsIisted in ExhibitD.


  Dated:Decem ber13,2022



                                                                   Res ctfully   bm itted,

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                                                                   Telephone:(954887-9988




  4ManagementDirective 110.(n.d.-b).US EEOC Chapter11section II.
  5ManagementDiredive 110.(n.d.-b).US EEOC Chapter11sedionIV.
Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 16 of 17




                                Cedi
                                   scate ofService*


 Ihereby cedify thata true and correctcopy ofthe foregoing was served by Ce4ined
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 see Section 3K(4),CM/
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Case 1:23-cv-20021-BB Document 1 Entered on FLSD Docket 01/04/2023 Page 17 of 17




                        UNITED STATES DISTRICT CO URT
                        SO UTHERN DISTRICT OF FLO RIDA


 Shovan Am bush,
 Plaintiff                                     Case No.


 VS.

 CarnivalCorporation,
 Defendant


                                  CO M PLAINT

 1, Shovan Am bush              ,plaintiff,in the above styled cause,sue
 defendantls):
  CarnivalCruise Corporation                              .

 Yhisaction isfiledunder(indicateunderwhichfederalIaw orsectionofthe U S.  .

 Constitution
 thisactionisbeingfiledl:-42 USC 12112.-




 Dated:Decem ber13,2022

                                                          R   pedfully subm itted,


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